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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

BRASON LEE, Derivatively On Behalf         ) Case No.: 1:20-cv-00989-CFC
Of THE CHEMOURS COMPANY,                   )
                                           )
                             Plaintiff,    )
                                           )
       v.                                  )
                                           )
RICHARD H. BROWN, MARK P.                  )
VERGNANO, BRADLEY J. BELL,                 )
CURTIS V. ANASTASIO, MARY B.               )
CRANSTON CURTIS J. CRAWFORD,               )
DAWN L. FARRELL, SEAN D.                   )
KEOHANE, and ERIN N. KANE,                 )
                                           )
                             Defendants,   )
                                           )
THE CHEMOURS COMPANY,                      )
                                           )
                   Nominal Defendant.      )
                                           ) Date Action Filed: July 27, 2020

[Caption continued on next page.]


     STIPULATION AND [PROPOSED] ORDER CONSOLIDATING RELATED
    DERIVATIVE ACTIONS AND APPOINTING LEAD AND LIAISON COUNSEL
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LESLEY SAVAGE, Derivatively on Behalf ) Civil Action No. 1:20-cv-00995-CFC
of THE CHEMOURS COMPANY,              )
                                      )
                        Plaintiff,    )
                                      )
      v.                              )
                                      )
MARK P. VERGNANO, MARK E.             )
NEWMAN, RICHARD H. BROWN,             )
CURTIS V. ANASTASIO, BRADLEY J. )
BELL, MARY B. CRANSTON, CURTIS )
J. CRAWFORD, DAWN L. FARRELL,         )
SEAN D. KEOHANE, ERIN N. KANE,        )
and STEPHEN D. NEWLIN,                )
                                      )
                        Defendants,   )
                                      )
      -and-                           )
                                      )
THE CHEMOURS COMPANY, a Delaware )
Corporation,                          )
                                      )
                Nominal Defendant.    )
                                      ) Date Action Filed: July 27, 2020




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        WHEREAS, there are presently two stockholder derivative actions pending in this District

against the Individual Defendants, 1 current and former directors and officers of nominal defendant

The Chemours Company ("Chemours" or the "Company") (Chemours, together with the

Individual    Defendants,     are    collectively    referred    to    herein    as    "Defendants"):

(i) Lee v. Brown, et al., C.A. No. 1:20-cv-00989-CFC; and (ii) Savage v. Vergnano, et al., C.A.

1:20-cv-00995-CFC (together, the "Related Derivative Actions");

        WHEREAS, under Fed. R. Civ. P. 42(a), when actions involve "a common question of

law or fact," the Court may "(1) join for hearing or trial any or all matters at issue in the actions;

(2) consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay"; 2

        WHEREAS, the Related Derivative Actions challenge similar alleged conduct by the

Company's directors and executive officers and involve common questions of law and fact;

        WHEREAS, the parties therefore respectfully submit that consolidation of the Related

Derivative Actions is appropriate;

        WHEREAS, to avoid potentially duplicative actions and to conserve the Court's and the

parties' resources, the parties agree that the Related Derivative Actions should be consolidated for

all purposes, including pre-trial proceedings and trial, into a single consolidated action (hereinafter

referred to as the "Consolidated Derivative Action");




1
 "Individual Defendants" refer to Mark P. Vergnano, Mark E. Newman, Richard H. Brown, Curtis
V. Anastasio, Bradley J. Bell, Mary B. Cranston, Curtis J. Crawford, Dawn L. Farrell, Sean D.
Keohane, Erin N. Kane, and Stephen D. Newlin.
2
  See D'Alessandro v. U.S., 2005 WL 984352, at *1 (D. Del. Apr. 27, 2005) ("Federal Rule of Civil
Procedure 42 provides for consolidation '[w]hen actions involv[e] a common question of law or
fact … to avoid unnecessary costs or delay.'")' In re Sterling Fin. Corp. Sec. Class Action, 2007
WL4570729, at *1 (E.D. Pa. Dec. 21, 2007) ("Rule 42(a) grants the court broad discretion to
consolidate actions in order to 'facilitate the administration of justice.'").


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        WHEREAS, in order to realize the efficiencies made possible by consolidation of the

Related Derivative Actions, the plaintiffs agree that Robbins LLP shall be designated as Lead

Counsel for plaintiffs in the Consolidated Derivative Action; 3

        WHEREAS, the plaintiffs further agree that Cooch and Taylor, P.A. shall be designated

as Liaison Counsel representing plaintiffs in the Consolidated Derivative Action, and Gainey

McKenna, & Egleston shall be appointed as plaintiffs' Executive Committee;

        WHEREAS, defendants have no objection to those leadership designations;

        WHEREAS, following consolidation, plaintiffs intend to file a consolidated complaint;

        WHEREAS, counsel for the parties agree that the response deadlines for all Defendants

shall be deferred until after plaintiffs file their anticipated consolidated complaint and shall be set

at that time on mutual agreement of the parties; and

        WHEREFORE, the parties, through their undersigned counsel, hereby agree, stipulate,

and respectfully request that the Court enter an Order as follows:

        1.      Defendants need not answer, move or otherwise respond to any of the individual

complaints filed in the Related Derivative Actions.

        2.      The following actions shall be consolidated for all purposes, including pre-trial

proceedings and trial, into one consolidated action:

             Case Name                        C.A. No.                         Filing Date

       Lee v. Brown, et al.             1:20-cv-00989-CFC                     July 27, 2020



3
  See 9A Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure: Federal Rules
of Civil Procedure §2385 (3d. 2008) (court "may appoint one or more attorneys as liaison counsel,
lead counsel, or trial counsel for the consolidated cases" and "assign the designated lawyers
specific responsibilities"); Manual for Complex Litigation §10.22 (4th ed. 2004) ("[i]nstituting
special procedures for coordination of counsel early in the litigation will help to avoid" waste of
time and money, confusion and misdirection of the litigation, and undue burdens on the court).


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   Savage v. Vergnano, et al.          1:20-cv-00995-CFC                    July 27, 2020


       3.      Every pleading filed in the Consolidated Derivative Action, or in any separate

action included herein, must bear the following caption:

                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

 IN RE THE CHEMOURS COMPANY                       Lead C.A. No.: 1:20-cv-00989-CFC
 STOCKHOLDER DERIVATIVE
 LITIGATION                                       (Consolidated with C.A. No. 1:20-cv-00995-
 ___________________________________              CFC)
 This Document Relates To:

 ALL ACTIONS.


       4.      The files of the Consolidated Derivative Action will be maintained in one master

file under Lead C.A. No. 1:20-cv-00989-CFC.

       5.      Lead Counsel for plaintiffs for the conduct of In re The Chemours Company

Stockholder Derivative Litigation, Lead C.A. No. 1:20-cv-00989-CFC shall be:

                                        ROBBINS LLP
                                     BRIAN J. ROBBINS
                                      CRAIG W. SMITH
                                     ERIC M. CARRINO
                                      EMILY R. BISHOP
                                     5040 Shoreham Place
                                     San Diego, CA 92122
                                  Telephone: (619) 525-3990
                                  Facsimile: (619) 525-3991
                                E-mail: brobbins@robbinsllp.com
                                    csmith@robbinsllp.com
                                   ecarrino@robbinsllp.com
                                   ebishop@robbinsllp.com

       6.      Plaintiffs' Lead Counsel shall have sole authority to speak for plaintiffs in matters

regarding pre-trial procedure, trial, and settlement negotiations and shall make all work




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assignments in such manner as to facilitate the orderly and efficient prosecution of this litigation

and to avoid duplicative or unproductive effort.

       7.      Plaintiffs' Lead Counsel will be responsible for coordinating all activities and

appearances on behalf of plaintiffs. No motion, request for discovery, or other pre-trial or trial

proceedings will be initiated or filed by any plaintiffs except through plaintiffs' Lead Counsel.

       8.      No pleadings or other papers shall be filed or discovery conducted by any plaintiff

on behalf of plaintiffs except as directed or undertaken by plaintiffs' Lead Counsel.

       9.      Defendants' counsel may rely upon all agreements made with any of plaintiffs' Lead

Counsel, or other duly authorized representative of plaintiffs' Lead Counsel, and such agreements

will be binding on plaintiffs.

       10.     Liaison Counsel for plaintiffs for the conduct of this Consolidated Action shall be:

                                   COOCH AND TAYLOR, P.A.
                                      Blake A. Bennett (#5133)
                                       The Nemours Building
                                   1007 N. Orange St., Suite 1120
                                       Wilmington, DE 19801
                                     Telephone: (302) 984-3800
                                     Facsimile: (302) 984-3939
                                 E-mail: bbennett@coochtaylor.com

       11.     Plaintiffs' Liaison Counsel shall be available and responsible for communications

to and from this Court, including distributing orders and other directions from the Court to counsel.

Plaintiffs' Liaison Counsel shall be responsible for creating and maintaining a master service list

of all parties and respective counsel.

       12.     Plaintiffs' Executive Committee shall be:

                                   GAINEY McKENNA & EGLESTON
                                          Thomas J. McKenna
                                          Gregory M. Egleston
                                      501 Fifth Avenue, 19th Floor
                                         New York, NY 10017


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                                       Telephone: (212) 983-1300
                                       Facsimile: (212) 983-0383
                                    E-mail: tjmckenna@gme-law.com
                                        gegleston@gme-law.com

       13.     Plaintiffs' Executive Committee shall consult on all strategic decisions regarding

the litigation and any potential resolution of the Consolidated Action, and work in support of the

litigation in coordination with Lead Counsel.

       14.     When a case which properly belongs as part of the In re The Chemours Company

Stockholder Derivative Litigation, Lead C.A. No. 1:20-cv-00989-CFC, is hereafter filed in this

Court, reassigned to this Court, or transferred here from another court, this Court requests the

assistance of counsel in calling to the attention of the Clerk of the Court the filing, reassignment,

or transfer of any case which might properly be consolidated as part of the In re The Chemours

Company Stockholder Derivative Litigation, Lead C.A. No. 1:20-cv-00989-CFC.

       15.     Within thirty (30) days of the entry of an order consolidating the Related Derivative

Actions, the parties shall meet and confer and submit a proposed schedule for the Court's approval.

       16.     Pursuant to Fed. R. Civ. P. 5(b)(2)(E), all parties consent to service by e-mail of

any document required to be served in the Consolidated Derivative Action.


Dated: August 7, 2020                              COOCH AND TAYLOR, P.A.


                                                   /s/ Blake A. Bennett
                                                   Blake A. Bennett (#5133)
                                                   The Nemours Building
                                                   1007 N. Orange St., Suite 1120
                                                   Wilmington, DE 19801
                                                   Telephone: (302) 984-3800
                                                   Facsimile: (302) 984-3939
                                                   E-mail: bbennett@coochtaylor.com

                                                   ROBBINS LLP
                                                   BRIAN J. ROBBINS


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                                              csmith@robbinsllp.com
                                              ecarrino@robbinsllp.com
                                              ebishop@robbinsllp.com

                                      Proposed Lead and Liaison Counsel for
                                      Plaintiffs and Counsel for Plaintiff Lesley
                                      Savage

Dated: August 7, 2020                 O'KELLY & ERNST, LLC


                                      /s/Ryan M. Ernst
                                      Ryan M. Ernst (#4788)
                                      824 N. Market Street, Suite 1001A
                                      Wilmington, DE 19801
                                      Telephone (302) 778-4000
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                                      GAINEY McKENNA & EGLESTON
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                                      Facsimile: (212) 983-0383
                                      E-mail: tjmckenna@gme-law.com
                                              gegleston@gme-law.com

                                      Proposed Executive Committee, Additional
                                      Counsel for Plaintiffs and Counsel for Plaintiff
                                      Brason Lee




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Dated: August 7, 2020                 FRIEDLANDER & GORRIS, P.A.


                                      /s/ Joel Friedlander
                                      Joel Friedlander (Bar No. 3163)
                                      Christopher M. Foulds (Bar No. 5169)
                                      Christopher P. Quinn (Bar No. 5823)
                                      FRIEDLANDER & GORRIS, P.A.
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                                      Mark E. Newman, Richard H. Brown, Curtis V.
                                      Anastasio, Bradley J. Bell, Mary B. Cranston,
                                      Curtis J. Crawford, Dawn L. Farrell, Sean D.
                                      Keohane, Erin N. Kane, Stephen D. Newlin,
                                      and The Chemours Company


IT IS SO ORDERED.

 DATED:
                                      HONORABLE COLM F. CONNOLLY
                                      UNITED STATES DISTRICT COURT




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